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                 IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF OHIO
                           EASTERN DIVISION



IN RE: EAST PALESTINE TRAIN DERAILMENT           Case No. 4:23-CV-00242-BYP

                                                 JUDGE BENITA Y. PEARSON


          NORFOLK SOUTHERN’S MOTION FOR JUDICIAL NOTICE
             CONCERNING THE CLASS ACTION SETTLEMENT
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       Pursuant to Rule 201 of the Federal Rules of Evidence, Norfolk Southern respectfully

requests that the Court take judicial notice of the facts set forth below, which are contained in

documents filed on the docket in this case and identified on Norfolk Southern’s Exhibit List

(Dkt. 794). These facts concern the Class Action Settlement Agreement for which Norfolk

Southern seeks contribution from GATX and OxyVinyls, and include: (1) the Settlement is for

$600,000,000.00; (2) the Settlement Class consists of persons and businesses within a 20-mile

radius of the Derailment Site; (3) GATX and OxyVinyls are Released Parties under the

Settlement; (4) the Settlement was “vigorously negotiated” between Norfolk Southern and Class

Counsel and ultimately based on a “Mediator’s Recommendation” from retired United States

District Judge Layn Phillips; and (5) this Court found “the Settlement is fair, reasonable, and

adequate.”

       A “court may judicially notice a fact that is not subject to reasonable dispute because it

… can be accurately and readily determined from sources whose accuracy cannot reasonably be

questioned.” Fed. R. Evid. 201(b)(2). A court “may take judicial notice at any stage of the

proceeding.” Id. 201(d). And “‘[i]n a civil action or proceeding, the court shall instruct the jury

to accept as conclusive any fact judicially noticed.’” United States v. Collier, 68 Fed. App’x

676, 682 (6th Cir. 2003) (quoting Fed. R. Evid. 201(g)); United States v. Jones, 580 F.2d 219,

223 (6th Cir. 1978) (same).

       All of the facts identified below are from public court documents and judicial records,

which are routinely subject to judicial notice under Rule 201(b). United States v. Ferguson, 681

F.3d 826, 834 (6th Cir. 2012). These facts come directly from the Settlement Agreement and

this Court’s prior Orders. Indeed, given the unequivocal state of the record, Norfolk Southern

respectfully submits that these facts should have been a matter for a joint stipulation. See, e.g.,



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Dkt. 885 at 1-2 (“No party may argue or solicit testimony that the Class Action settlement or its

amount was not reasonable. The Court has ruled that the settlement was reasonable.”). Counsel

for Norfolk Southern have engaged counsel for GATX and OxyVinyls regarding this request for

judicial notice and proposed a stipulation. As of the time of this filing, no agreement has been

reached, making this motion necessary.

       The core, indisputable facts of the Settlement Agreement—both those facts reflected on

the face of the Agreement (Part I), as well as those facts related to the settlement-negotiation

process and found by this Court in its prior Orders (Part II)—fall squarely under Rule 201(b)

because they are drawn from the judicial records in this very case. There is no reasonable

dispute as to the authenticity and “accuracy,” Fed. R. Evid. 201(b)(2), of these judicial records.

And Rule 201(b) allows courts to take notice “of current proceedings” and of “‘matters of record

in the proceedings in other cases’” alike. Estate of Botvin v. Islamic Republic of Iran, 873 F.

Supp. 2d 232, 236 (D.D.C. 2012) (quoting 2 McCormick on Evid. § 332 (6th ed. 2009)); see

Lynch v. Leis, 382 F.3d 642, 647 n.5 (6th Cir. 2004) (“[A]s they are court records, this court may

take judicial notice of them.”); Granader v. Public Bank, 417 F.2d 75, 82-83 (6th Cir. 1969).

       Likewise, this Court can take notice of the fact that Class Plaintiffs made the one

identified statement below related to the Settlement in their operative complaint in this case (Part

III). It is indisputable that Class Plaintiffs’ Amended Master Complaint, Dkt. 138, is an

authentic document and that the statement appears in the document. The fact of the statement is

thus suitable for judicial notice. See, e.g., In re Silicon Graphics Inc. Securities Litigation, 183

F.3d 970, 984 n.13 (9th Cir. 1999) (district court took judicial notice of the fact that class action

complaints in other cases contained allegations similar those in the complaint at issue),

superseded by statute on other grounds; Haas Automation, Inc. v. Steiner, 750 F. Supp. 3d 1107,



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1115 (C.D. Cal. 2024) (taking “judicial notice of the complaint” in another case without

“accept[ing] as true allegations in that … complaint”); In re Smith, 2012 WL 1123049, at *2

(W.D. Tex. April 3, 2012) (taking “judicial notice of the fact that certain allegations were made”

rather than “for the purpose of establishing the facts asserted therein”).

         Accordingly, Norfolk Southern requests that the Court take judicial notice of the facts set

forth below.

I.       The Class Action Settlement Agreement

         Norfolk Southern requests that the Court take judicial notice of the following indisputable

facts pertaining to the Settlement Agreement:

      1. The Settlement is for $600,000,000.00. Dkt. 452-2 at ¶ XII.A, Class Action Settlement
         Agreement (filed April 26, 2024) (PTX 344).

      2. The “Settlement Class” consists of “all Persons and Businesses residing, owning or
         otherwise having a legal interest in property, working, or owning or operating a business
         within a 20-mile radius of the Derailment Site, from February 3, 2023 to the Settlement
         Date.” Dkt. 452-2 ¶ II.QQ, Class Action Settlement Agreement (filed April 26, 2024)
         (PTX 344).

      3. The Settlement Agreement “discharge[s] the Released Parties from any and all Released
         Claims.” Dkt. 452-2 ¶ XVI.A, Class Action Settlement Agreement (filed April 26,
         2024) (PTX 344). The “Released Parties” include GATX Corporation, OxyVinyls LP,
         and Norfolk Southern. Id. ¶ II.NN. The “‘Released Claims’ means any and all past,
         present, or future claims or causes of action, whether known or unknown, … that were
         alleged or could have been alleged in the Action relating to the Incident,” id. ¶ II.MM,
         where “Incident” refers to “the February 3, 2023 derailment of Norfolk Southern train
         32N in East Palestine, Ohio, including without limitation the February 6, 2023 controlled
         release (also referred to as the vent and burn) of hazardous materials contained in certain
         derailed railcars and the chemical release, fire, emergency response, clean-up,
         remediation, shelter-in-place and evacuation in and around East Palestine, Ohio following
         the February 3, 2023 train derailment and February 6, 2023 controlled release,” id. ¶
         II.AA.

II.      This Court’s Prior Orders Concerning The Settlement

         Norfolk Southern requests that the Court take judicial notice of the following indisputable

facts that have been established by this Court’s prior Orders:


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       1. “[T]he Settlement is fair, reasonable, and adequate and in the best interest of Settlement
          Class Members. … Among the factors supporting the Court’s determination are: the
          significant relief provided to the Settlement Class Members; the risks of ongoing
          litigation, trial, and appeal; the extensive discovery completed to date; and, the positive
          reactions of Settlement Class Members.” Dkt. 557 ¶ 7, Order Approving Settlement
          Agreement (entered September 27, 2024) (PTX 349).

       2. “The Settlement was vigorously negotiated, conducted at arm’s length, entered in good
          faith, and is free of fraud or collusion. The Settlement was negotiated with experienced,
          adversarial counsel. The terms of the Settlement were reached with the assistance of a
          highly qualified mediator, retired United States District Judge Layn Phillips, over the
          course of multiple mediation conferences and lengthy negotiations. Judge Phillips
          presented a Mediator’s Recommendation to the Parties after a second formal mediation,
          which the Parties agreed to after individually considering the proposal. Following this
          agreement, the Parties continued frequent negotiation discussions and ultimately reached
          the Settlement Agreement.” Dkt. 557 ¶ 9, Order Approving Settlement Agreement
          (entered September 27, 2024) (PTX 349).

       3. “The relief provided for in the Settlement Fund and Settlement Agreement is fair,
          adequate, and reasonable. This is particularly true considering the complexity and likely
          duration of litigation in this Action, including any appeals, and likelihood of success on
          the merits.” Dkt. 557 ¶ 10, Order Approving Settlement Agreement (entered September
          27, 2024) (PTX 349).

       4. Norfolk Southern has paid “over half” of the $600,000,000.00 settlement obligation.
          Dkt. 730 at 2, Order Granting Motion for Leave to File Supplemental Pleading to Third-
          Party Complaint (entered January 13, 2025) (PTX 350).

III.      Prior Statements By Class Action Plaintiffs

          Norfolk Southern requests that the Court take judicial notice of the fact that Class Action

Plaintiffs made the following statement in pleadings docketed in this case:

          In their First Amended Master Consolidated Complaint, Plaintiffs stated that “[t]his
          Consolidated Class Action seeks redress for residents, property owners, employees and
          businesses living, working and/or located in and around the February 3, 2023 Norfolk
          Southern Freight Train 32N derailment and subsequent ‘controlled’ release in East
          Palestine, Ohio (the ‘Derailment Site’), that resulted in contamination of, and exposure
          to, massive amounts of vinyl chloride, dioxins, and other toxic chemicals—including
          butyl acrylate, benzene, ethylene glycol monobutyl ether, ethylhexyl acrylate,
          isobutylene, volatile and semi-volatile byproduct compounds and other combustible
          materials.” Dkt. 138 ¶ 1, First Amended Master Consolidated Class Action Complaint
          (filed August 14, 2023) (PTX 343).




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                                               * * *

       For the reasons set forth above, this Court should grant Norfolk Southern’s motion and

take judicial notice of the identified facts and statements.

       Norfolk Southern reserves the right at trial to seek to admit the documents referenced

above, including through witness testimony.




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Dated: March 25, 2025                         Respectfully submitted.

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                                     CERTIFICATE OF SERVICE

       I hereby certify that on March 25, 2025, I caused a copy of the foregoing to be filed with

the Clerk of the Court using the Court’s CM/ECF electronic filing system, which will provide

electronic notice to all counsel of record.

                                                     /s/ Jonathan E. Paikin
                                                    JONATHAN E. PAIKIN
